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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


 ANTON GUIRGUIS,                         :
       PLAINTIFF,                        :
                                         :    CIVIL ACTION
           V.                            :
                                         :    CASE NO:
 HAMPDEN TOWNSHIP;                       :
 OFFICER JOHANNES NOTZ;                  :    JURY TRIAL DEMANDED
 and OFFICER BRADLEY                     :
 CORLISS                                 :    ELECTRONICALLY FILED
      DEFENDANTS.                        :
                                         :
                                         :

                                   COMPLAINT

      The Plaintiff, Anton Guirguis, by and through his counsel, The Law Firm of

Killian & Gephart, LLP, alleges as follows:

I.    PRELIMINARY STATEMENT

      1. This case involves unreasonable force used by Hampden Township Police

Officers Johannes Notz (“Officer Notz”) and Bradley Corliss (“Officer Corliss”), in

response to Anton Guirguis’ (“Mr. Guirguis” or “Plaintiff”) medical emergency. As

result of the unreasonable force used by the police officers, Mr. Guirguis received

bruising to his back, face and ribs, and permanent injuries to his wrists and shoulder.

As a proximate result of Defendants’ actions, Mr. Guirguis suffered physical harm,
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economic harm, humiliation, and emotional suffering. Plaintiff seeks redress for

violation of the Fourth Amendment to the United States Constitution.

II.    JURISDICTION AND VENUE

       2. This action arises under the United States Constitution, particularly under

the Fourth and Fourteenth Amendments. The action asserts claims under 42 U.S.C.

§ 1983.

       3. This Honorable Court has jurisdiction pursuant to 28 U.S.C. § 1331 and

28 U.S.C. § 1343.

       4. Venue is proper in the Middle District of Pennsylvania pursuant to 28

U.S.C. §1391 in that the events complained of herein occurred in Hampden

Township, Cumberland County, in the Commonwealth of Pennsylvania, and the

above-captioned Defendants reside or have places of business within the boundaries

of the Middle District of Pennsylvania.

III.   PARTIES

       5. Mr. Guirguis is an adult citizen of the United States. He was born and

raised in Egypt but resides in Hampden Township, Cumberland County in the

Commonwealth of Pennsylvania.

       6. Defendant Hampden Township (“Defendant Township”) is a municipality

in the Commonwealth of Pennsylvania. Defendant Township’s central business




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office is located at 209 S. Sporting Hill Road, Mechanicsburg, Pennsylvania 17050.

Defendant Township operates the Hampden Township Police Department.

      7. At all times relevant to this Complaint, Officer Johannes Notz and Officer

Bradley Corliss (together “Defendants Officers”) were police officers with the

Hampden Township Police Department and employees of Defendant Township.

      8. At all times relevant to this Complaint, Defendants Officers were acting

within the course and scope of their employment and under the color of state law.

IV.   STATEMENT OF FACTS

      9. On October 27, 2021, Rachael David awoke to find her husband, Mr.

Guirguis, in their bed convulsing and foaming at his mouth.

      10. Ms. David woke her adult son and directed him to call 911 to request

immediate help. Ms. David then started CPR on her husband until assistance arrived.

      11. Before this time, Mr. Guirguis had not experienced or been diagnosed

with a seizure condition.

      12. At approximately 0430 hours on October 27, 2021, Defendants Officers

were dispatched to the residence for a reported individual suffering from cardiac

arrest. Defendants Officers arrived prior to emergency medical services.

      13. Upon arrival at the scene, Defendants Officers were met by Ms. David

who directed them upstairs to her distressed husband.




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      14. Defendants Officers did not ask anyone whether Mr. Guirguis had any

known medical conditions.

      15. Ms. David attempted to explain to Defendants Officers what was

occurring with her husband, but Defendants Officers ignored her and removed her

from the bedroom because she was “disruptive.”

      16. Mr. Guirguis was in the corner of the bedroom against the bed and the

wall. He was convulsing and he had urinated on himself. He also displayed signs of

agonal breathing. Mr. Guirguis was in a semi-conscious state and unresponsive to

Defendants Officers.

      17. Defendants Officers, jumping to the conclusion that Mr. Guirguis was

experiencing an opioid overdose, immediately made the decision to drag Mr.

Guirguis towards the end of the bed to put Mr. Guirguis in the “recovery position.”

      18. Mr. Guirguis continued to convulse. Defendants Officers restrained Mr.

Guirguis by laying on top of him and pinning him to the ground restricting his

movements.

      19. Throughout the entire interaction, Mr. Guirguis did not speak, and his eyes

kept opening and closing.

      20. Mr. Guirguis was unarmed through the entire encounter.

      21. Officer Notz administered a dose of naloxone to Mr. Guirguis.




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      22. After the naloxone showed no effect, Defendants Officers continued to

restrain Mr. Guirguis on the ground, while Officer Notz administered a second dose

of naloxone to Mr. Guirguis.

      23. Emergency medical services arrived on the scene after naloxone was

administered.

      24. Rather than step away and turn Mr. Guirguis over to emergency medical

services to provide proper care, Defendants Officers requested additional officers to

the scene to assist with restraining Mr. Guirguis.

      25. Mr. Guirguis remained unresponsive to Defendants Officers’ commands

and attempts to place him in handcuffs. Officer Notz took his hand with a closed

fist and viciously struck Mr. Guirguis multiple times on the side of the head.

      26. Despite being removed from the area, Ms. David came into the room

multiple times trying to talk to Mr. Guirguis and Defendants Officers. Ms. David

objected vigorously to Defendants Officers’ treatment of her husband. Ms. David

informed Defendants Officers of Mr. Guirguis’ recent surgeries and provided one

officer with a box of the medications Mr. Guirguis was taking in an attempt to

disabuse Defendants Officers of their belief that Mr. Guirguis was on heroin.

      27. Once the additional police officers arrived on scene, Defendants Officers

were able to place handcuffs onto Mr. Guirguis.




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      28. Emergency medical services personnel were permitted to treat Mr.

Guirguis after he was placed in handcuffs. The medical personnel injected Mr.

Guirguis with five (5) separate doses of a sedative within an approximate twenty

(20) minute time frame. A paramedic stated to Ms. Davis that he thought Mr.

Guirguis was experiencing the effects of a seizure.

      29. The entire interaction with Defendants Officers and Mr. Guirguis lasted

approximately twenty-five to thirty minutes.

      30. Mr. Guirguis was transported to Holy Spirit Hospital in Camp Hill

Pennsylvania, where he was admitted to the Intensive Care Unit. Mr. Guirguis was

diagnosed with having had a nocturnal seizure with convulsions, a broken shoulder,

and multiple contusions and lacerations. He was not released from the hospital for

eight (8) days. Upon release, Mr. Guirguis was provided seizure medications.

      31. Pennsylvania Act 254 of 1970 provides, in relevant part:

      It shall be the duty of all law enforcement officers in this State to make
      a diligent effort to determine if any person they may find in a semi-
      conscious or unconscious condition is an epileptic or diabetic or a
      person who is suffering from any other type of illness which would
      cause semi-consciousness or unconsciousness, before such person may
      be charged with a crime.

35 P.S. § 10012.1




      1
          The Act of November 25, 1970, P.L. 769, No. 254 at § 2.


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         32. Notwithstanding the fact that Mr. Guirguis was diagnosed with a

nocturnal seizure, Officer Notz filed a Police Criminal Complaint on or about

November 4, 2021, charging Mr. Guirguis with, inter alia, aggravated assault against

a public official in the performance of his duty.

         33. On May 8, 2023, the eve of trial on the criminal charges, the District

Attorney for Cumberland County, Pennsylvania, filed a petition with the

Cumberland County Court of Common Pleas requesting that a Nolle Prosequi be

filed on all charges. The Court granted the Nolle Prosequi the following day, May

9, 2023.

         34. Mr. Guirguis was compelled to expend tens of thousands of dollars

preparing a legal defense prior to the charges being dropped on the eve of trial.

         35. At all times relevant, Defendant Township had a policy on the Use of

Force.

         36. The Use of Force Policy in effect at that time of the incident, as well as

today, does not provide any guidance to officers on the use of force or the use of de-

escalation tactics in situations where a citizen is suffering distress due to a medical

emergency.

         37. The Defendant Township’s police department does not have a policy

involving responding to medical emergencies or implementing 35 P.S. § 10012 and

provides no training to officers on recognizing the signs of seizure.



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         38. At all times relevant, it was reasonably foreseeable that Defendants

Officers would encounter citizens displaying signs of a medical emergency, such as

a seizure.

         39. At all times relevant, Mr. Guirguis was an employee of the United States

Postal Service. Due to his injuries, Mr. Guirguis was on medical leave without pay

for 18 months. Mr. Guirguis remains on light duty and ineligible for most overtime

hours.

                                      COUNT I
                 VIOLATION OF THE FOURTH AMENDMENT
                                   42 U.S.C. § 1983
                   (Plaintiff v. Officer Notz and Officer Corliss)

         40. All proceeding paragraphs are incorporated as if fully set forth herein.

         41. The Fourth Amendment to the United States Constitution, made

applicable to the States by the Fourteenth Amendment to the same, protects

individuals from unreasonable searches and seizures.

         42. The use of excessive force by a law enforcement officer is considered a

“seizure” within the meaning of the Fourth Amendment. Graham v. Conner, 490

U.S. 386, 395 (1989).

         43. A claim for excessive force under the Fourth Amendment requires a

plaintiff to show that a seizure occurred and that it was unreasonable. Curley v.

Klem, 298 F.3d 271, 279 (3d Cir. 2002).




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      44. Officer Notz and Officer Corliss handcuffed, restrained, and seized Mr.

Guirguis without probable cause when Mr. Guirguis posed no threat to officers.

      45. Officer Notz and Officer Corliss physically struck Mr. Guirguis on the

side of his head multiple times when Mr. Guirguis posed no threat to the officers,

was not fleeing arrest, and committed no crime.

      46. As a proximate result of Defendants Officers’ actions, Mr. Guirguis

suffered physical harm, economic harm, humiliation, and emotional suffering.

      47. By treating a medical emergency as a criminal matter that required the

use of force, Defendants Officers exhibited reckless and callous indifference to Mr.

Guirguis’s federally protected rights.

      48. A reasonable law enforcement officer should know that excessive use of

force during a serious medical emergency would constitute a violation of the Fourth

Amendment.

                            COUNT II
        VIOLATION OF THE FOURTH AMENDMENT FOR
 CONSTITUTIONALLY DEFICIENT USE OF FORCE/DE-ESCALATION
                POLICIES AND PRACTICES
                        42 U.S.C. § 1983
               (Plaintiff v. Defendant Township)

      49. All proceeding paragraphs are incorporated as if fully set forth herein.

      50. Policymakers for Defendant Township know that its police officers will

confront individuals experiencing serious medical emergencies.




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      51. Policymakers for Defendant Township understand that its police officers

will face a difficult set of choices, and that the wrong choice in such situations will

frequently lead to constitutional deprivations.

      52. Defendant Township has failed to enact policies regarding the use of force

or use of de-escalation tactics in response to medical issues.

      53. Given how often police officers engage with individuals facing medical

emergencies, the Defendant Township’s failure to enact policies governing the use

of force and de-escalation tactics in response to medical emergencies amounts to

deliberate indifference to Mr. Guirguis’s federally protected rights.

      54. Defendant Township’s lack of policies involving use of force or use of de-

escalation tactics in response to medical issues was the moving force behind the

harm imposed upon Mr. Guirguis.

                              COUNT III
          VIOLATION OF THE FOURTH AMENDMENT FOR
       CONSTITUTIONALLY DEFICIENT TRAINING PRACTICES
                           42 U.S.C. § 1983
                  (Plaintiff v. Defendant Township)

      55. All proceeding paragraphs are incorporated as if fully set forth herein.

      56. Defendant Township has failed to adequately train its police officers on

the use of force or use of de-escalation tactics in response to medical issues.

      57. Defendant Township has failed to train its officers on how to recognize

illnesses that would cause semi-consciousness. This failure led Defendants Officers



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to unlawfully seize Mr. Guirguis and to file charges against Mr. Guirguis in violation

of state law.

      58. State law requires all law enforcement officers to make a “diligent effort

to determine if any person they may find in a semi-conscious or unconscious

condition is an epileptic or diabetic or a person who is suffering from any other type

of illness which would cause semi-consciousness or unconsciousness, before such

person may be charged with a crime.” 35 P.S. § 10012. This statute is a prophylactic

measure intended to prevent an obvious risk of unlawful arrests and prosecutions of

individuals experiencing a medical emergency.

      59. Defendant Township’s failure to adequately train its officers on the use of

force and the use of de-escalation tactics in response to medical issues and

recognizing illnesses amounts to deliberate indifference to Mr. Guirguis’s federally

protected rights.

      60. Defendant Township’s failure to train its police officers on the use of force

or use of de-escalation tactics in response to medical issues and on recognizing

illnesses was the moving force behind the harm imposed upon Mr. Guirguis.

                               RELIEF REQUESTED

      WHEREFORE, Plaintiff requests this Court to enter judgment in his favor

and against all Defendants and requests that this Court:

      a)        Award traditional tort remedies such as compensatory damages against
                all Defendants;

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     b)      Award such punitive damages against Officer Notz and Officer Corliss;

     c)      Award prevailing party attorney’s fees and costs pursuant to 42 U.S.C.
             § 1988(b);

     d)      Award pre- and post-judgment interest at the lawful rate; and

     e)      Order other relief that the Court deems just and proper under either law
             or equity.

                        DEMAND FOR TRIAL BY JURY

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

demands a trial by jury with respect to the claims and relief set forth herein.


                                         Respectfully submitted,


Dated: October 11, 2023                   /s/ Scott P. Stedjan
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